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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION


   LARA GEORGE MANSOUR, a/k/a LARA
   SAMAHA,
                                                       Case No.: 1:17-CV-24206-JEM
                  Plaintiff,

          v.

   MONA BACH MANSOUR, individually;
   ALEXANDER GEORGE MANSOUR,
   individually; ROLLY GEORGE
   MANSOUR, individually; DANY GEORGE
   MACARON, individually; SALIM
   JRESSATI, individually; SAMIR
   HAMMOUD, individually; ZIAD
   MEKANNA, individually; ZIAD ABOU
   HAIDAR, individually; and PASCAL
   ANTOUN, individually;

                  Defendants.


              LEBANESE GOVERNMENT DEFENDANTS’
    RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR RELIEF
     FROM JUDGMENT OR ORDER PURSUANT TO FED. R. CIV. P. 60
         Defendants former Minister of Justice of the Republic of Lebanon Salim Jressati, the

  Honorable Ziad Mekanna, the Honorable Samir Hammoud, the Honorable Ziad Abou Haidar, and

  Mr. Pascal Antoun, Esq., Advisor to the Minister of Justice of the Republic of Lebanon (the

  “Lebanese Government Defendants”), by and through undersigned counsel, respond to Plaintiff’s

  Motion for Relief from a Judgment or Order [ECF No. 83] (the “Motion”).

         Plaintiff’s motion is frivolous, as is the case she seeks to reinstate. It was properly

  withdrawn by Plaintiff and her counsel more than three months ago, and no good cause or

  exceptional circumstance warrants vacating the order of dismissal, which Plaintiff and her counsel
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  themselves, sought and obtained from the Court.

         As set forth below, this case has no business being filed in this Court. The underlying action

  is a lawsuit by a Lebanese citizen, against Lebanese public officials, involving ongoing legal

  proceedings brought by her in Lebanon, under Lebanese law, relating to her alleged rights in

  property located in Lebanon that was owned by her father, a citizen of Lebanon who died in

  Lebanon and whose estate was administered. Dissatisfied with the results thus far in those

  proceedings, Plaintiff and her lawyers have concocted a suit against officials of the Lebanese

  government, including respected members of the Lebanese judiciary, whom she holds responsible

  for decisions rendered against her in the Lebanese courts.

         Apart from the obvious fact that the Lebanese Government Defendants are immune from

  suit in the United States, and the fact that they have no contacts with this forum giving rise to

  personal jurisdiction over them, the Court need not even reach the merits of the Amended

  Complaint, because the Motion for Relief is procedurally defective, fails to comply with the Local

  Rules, is untimely, and falls woefully short of the legal standard required to vacate a final

  judgment, especially when that judgment was entered at the request of the movant.

         Based on the foregoing, and as set forth below in the following incorporated Memorandum

  of Law, the Motion should be denied.

                                    MEMORANDUM OF LAW

  I.     FACTUAL SUMMARY

         For the past four years, Plaintiff has filed and pursued criminal proceedings in Lebanon

  against several of her family members related to the estates of her father and aunt in Lebanon.1



  1
          “In Lebanon, as with many civil law jurisdictions, private citizens may initiate private
  criminal actions for their civil claims if there is an element of a criminal offense attached to such
  claims. These actions may be presented to prosecutors or directly to the first investigative judge.
                                                  -1-
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  Instead of awaiting the outcome of those proceedings, which are currently on appeal in part, and

  clearly dissatisfied with the results thus far, Plaintiff brought a separate lawsuit in 2017 – the

  Amended Complaint – in the United States against her Lebanese family members and several

  Lebanese government officials alleging a vast conspiracy directed against her based on wholly

  fabricated allegations of public corruption and other malfeasance. The Lebanese Government

  Defendants deny the sweeping and defamatory claims in that lawsuit.2

         A.      Plaintiff Initiates Three Criminal Proceedings in Lebanon

         Plaintiff’s father died in 2014. Shortly after his passing, on June 16, 2015, Lara Mansour

  (“Mansour” or “Plaintiff”) filed the first of three private criminal actions in Lebanon alleging theft,

  embezzlement, and fraud against her mother and siblings before the First Investigative Judge in

  Mount Lebanon.3 Throughout these proceedings, Plaintiff – who is, in fact, a Lebanese citizen –

  represented to the Court that she is a resident of Lebanon who lives in the Achrafieh district of

  Beirut at the Samaha Building, 6th Floor, Zahrat Ihsan Street, Ashrafieh, Beirut, Lebanon.4

         Shortly thereafter, Lara Mansour filed a second private criminal complaint against her




  Private parties sometimes wrongfully seek to present civil claims (including, for example, for
  fraud) as criminal complaints, to take advantage of the prosecutorial power. In many instances,
  such claims are determined to be of a civil nature only and thus the criminal prosecution is
  declined. If a criminal action is dismissed, claimants may pursue their claims in civil court subject
  to applicable law.” Declaration of Hon. Ziad Mekanna (“Mekanna Declaration”), attached hereto
  as Exhibit “A” at ¶5, n.1. Plaintiff has opted for the tactic of initiating private criminal actions
  against her defendant family members rather than pursuing her civil claims before the Lebanese
  civil courts. As explained below, the option of pursuing civil claims remains available to her.
  2
          See Declaration of Hon. Salim Jreissati (“Jreissati Declaration”), attached hereto as Exhibit
  “B” at ¶8; Mekanna Declaration, Ex. A at ¶16 ; Declaration of Hon. Ziad Abou Haidar (“Abou
  Haidar Declaration”), attached hereto as Exhibit “C” at ¶8; Declaration of Hon. Samir Hammoud
  (“Hammoud Declaration”), attached hereto as Exhibit “D” at ¶10; Declaration of Pascal Antoun
  (“Antoun Declaration”), attached hereto as Exhibit “E” at ¶8.
  3
          Mekanna Declaration, Ex. A at ¶15.
  4
          See Power of Attorney of Lara Mansour, a true and correct translated copy of which is
  attached hereto as Exhibit “F”.
                                                   -2-
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  mother and siblings on October 8, 2015, before the Public Prosecutor for the Court of Cassation,

  which generally investigates only severe crimes. This case was later transferred to the Public

  Prosecutor of Mount Lebanon, who upon review of the claim, transferred it to the First

  Investigative Judge, as per local procedure.5

         On June 13, 2016, these criminal cases were consolidated and transferred to Judge Ziad

  Mekanna, among the most well-respected jurists in Lebanon. Judge Mekanna spent over a year

  investigating the case, including meeting with and questioning the parties.6 On March 22, 2018,

  after diligently and fully investigating the case and questioning all of the relevant parties, Judge

  Mekanna rendered his decision, in which he concluded that (i) there was no evidence of forgery

  by any of the Defendants, and (ii) the legal elements for the crimes of fraud, theft, and

  embezzlement were not satisfied.7 The Claimant appealed the Decision, which remains pending,

  and was free to pursue civil claims before the Lebanese civil courts pursuant to Lebanese law.8 At

  no point during the entirety of the proceeding before Judge Mekanna or any of the other judges

  involved in her claims in Lebanon, did Plaintiff object to the legality of the investigation or file a

  request to recuse any judge from any of her cases.9

         In the meantime, on September 5, 2016, Plaintiff filed a third private criminal complaint

  with the Office of the Chief Prosecutor against nine individuals10 alleging forgery and the use of




  5
         Mekanna Declaration, Ex. A at ¶6.
  6
         Id. at ¶8.
  7
         Id. at ¶9.
  8
         Id. at ¶¶9-10.
  9
         As set forth in Judge Mekanna’s declaration, it is possible under Lebanese law to seek the
  recusal of a judge. Parties may also initiate disciplinary complaints against judges. Mekanna
  Declaration, Ex. A at ¶12.
  10
         Rabih Jamil Noureddine, Mohamad Ali Barbar, Ali Ahmad Abou Hamdan, Marlene
  Layoun, Fadi Layoun, Amira Ahmad Maarabouni, Houssein Ajaj Abou Hamdan, Esin Nicolas
  Njaim, and Bassam Najib Najjar.
                                                  -3-
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  forged documents in connection with a fraud.11 Assistant Chief Public Prosecutor, Judge Charbel

  Bou Samra, referred the case to the Central Detective Agency for investigation, and on January

  27, 2017, after the investigation, decided not to proceed for lack of evidence.12

         B.      Plaintiff Initiates this Litigation in the Southern District of Florida

         Plaintiff first initiated the present action in the Southern District of Florida with the filing

  of the Complaint on November 17, 2017. See Complaint [ECF No. 1]. In this initial version of the

  Complaint, Plaintiff named all of the Lebanese Government Defendants except Mr. Antoun.

  Having filed the Complaint, Plaintiff allowed the case in the Southern District of Florida to remain

  dormant for almost a year before doing anything else, until October 17, 2018, when she filed the

  Amended Complaint. See Amended Complaint [ECF No. 7]. In the Amended Complaint, she

  named all of the Lebanese Government Defendants for the first time in this case. See Amended

  Complaint [ECF No. 7]. The Lebanese Government Defendants received copies of the Complaint

  and other case documents by international courier in February 2019.13

         C.      Defamation Claims against Plaintiff in Lebanon

         In the face of Plaintiff’s allegations in the Amended Complaint, Dany Maacaron

  (“Maacaron”), counsel for Mansour’s mother and siblings in Lebanon, filed a criminal complaint

  against Plaintiff in Lebanon alleging civil and criminal defamation and slander. Under Lebanese

  law, slander against a judge is a felony. Judge Mekanna independently filed a similar action for,

  among others, slander and defamation (collectively, the “Defamation Actions”).14 In such cases,




  11
         Hammoud Declaration, Ex. D at ¶6.
  12
         Id. at ¶6.
  13
         See, e.g., Mekanna Declaration, Ex. A at ¶14. The Lebanese Government Defendants do
  not concede that service of process was effected properly and reserve all defenses, including, but
  not limited to, the right to object or otherwise move to quash service of process.
  14
         Mekanna Declaration, Ex. A at ¶16.
                                                  -4-
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  when a defendant cannot be located, a prosecutor may, in the regular course, issue a “search and

  investigation warrant” for the defendant (an “Arrest Warrant”).15 Such warrants, which allow

  authorities to arrest a defendant at the airport and other points of entry, are issued in the normal

  course after making failed attempts to locate a defendant and remain valid for a renewable period

  of 30 days in accordance with Article 24 of the Lebanese Code of Criminal Procedure.16 Their

  main purpose is to permit the prosecutor and/or investigative judge to question the defendant.17

         D.      Plaintiff’s Arrest and Questioning in Connection with the Criminal
                 Defamation Cases Filed Against Her

         As a result of the Arrest Warrant issued against her, Plaintiff was detained at Beirut-Rafik

  Hariri International Airport upon arriving in Lebanon on April 2, 2019. None of the Lebanese

  Government Defendants were involved in Plaintiff’s arrest or questioning.18 Following her arrest,

  Plaintiff’s counsel communicated with U.S. counsel for the Lebanese Government Defendants

  demanding that the Lebanese Government Defendants immediately intervene extra judicially in

  the ongoing Lebanese proceedings and “assist and [sic] in her release.”19

         E.      Plaintiff’s Settlement and Voluntary Dismissal

         In the following days, Plaintiff’s Lebanese counsel engaged in negotiations with Maacaron

  as a consequence of which both Mansour and Maacaron agreed to withdraw all their claims. None

  of the Lebanese Government Defendants were involved in these negotiations.20 On April 5, 2019,

  Plaintiff’s Florida counsel signed and filed the Notice of Voluntarily Dismissal with Prejudice in


  15
         Id. at ¶17.
  16
         Id. at ¶18.
  17
         Id. at ¶18.
  18
         Mekanna Declaration, Ex. A at ¶19; Hammoud Declaration, Ex. D at ¶9; Abou Haidar
  Declaration, Ex. C at ¶7; Jreissati Declaration, Ex. B at ¶7; Antoun Declaration, Ex. E at ¶7.
  19
         A true and correct copy of the April 2, 2019 correspondence from Lorne Berkeley is
  attached as Exhibit “G” (“April 2, 2019 Correspondence”).
  20
         Mekanna Declaration, Ex. A at ¶20; Hammoud Declaration, Ex. D at ¶8; Abou Haidar
  Declaration, Ex. C at ¶8; Jreissati Declaration, Ex. B at ¶6; Antoun Declaration, Ex. E at ¶5.
                                                 -5-
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  this case [ECF No. 81].21 After learning from Plaintiff’s Lebanese counsel about the settlement,

  Judge Mekanna also agreed to withdraw the Defamation Action he had initiated in Lebanon.22 On

  April 8, 2019, this Court entered a Final Order of Dismissal [ECF No. 82].

         F.      Plaintiff’s Motion for Relief

          Surprisingly, and without notice or any effort to meet and confer in accordance with the

  Local Rules of this Court, Plaintiff filed her present Motion more than two months after voluntarily

  dismissing the case and returning to the United States from Lebanon. The Motion, unsupported by

  any testimony or other evidence, doubles down on the scurrilous allegations in the Amended

  Complaint and requests that the Court set aside its April 8, 2019 Final Order of Dismissal With

  Prejudice.

         Apart from its procedural irregularities, as discussed below, Plaintiff’s unsupported

  allegations in the Motion of mistreatment by public officials in Lebanon are completely false.23

  II.    PLAINTIFF’S MOTION IS PROCEDURALLY DEFECTIVE AND SHOULD BE
         STRUCK

         As a threshold matter, the Motion should be denied because Plaintiff failed to make any

  effort to meet and confer prior to filing. Local Rule 7.1(A)(3) requires that the moving party make

  a good faith effort prior to filing “any motion in a civil case,” and does not identify a motion under

  Fed. R. Civ. P. 60 as an exception. See S.D. Fla. L.R. 7.1(A)(3). A movant must have a give-and-

  take exchange with opposing counsel to meet the Rule’s requirement of a good faith conference.

  Wrangen v. Pennsylvania Lumbermans Mut. Ins. Co., No. 07-61879, 2008 WL 5427785, at *1

  (S.D. Fla. Dec. 30, 2008). Consistent with this obligation, Local Rule 7.1.A.3 further requires that


  21
           Plaintiff’s Florida counsel, Lorne Berkeley, did not inform undersigned counsel in advance
  of filing the Voluntary Dismissal.
  22
           Mekanna Declaration, Ex. A at ¶20.
  23
           See Mekanna Declaration, Ex. A at ¶16; Hammoud Declaration, Ex. D at ¶10; Abou Haidar
  Declaration, Ex. C at ¶8; Jreissati Declaration, Ex. B at ¶8; Antoun Declaration, Ex. E at ¶8.
                                                  -6-
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  the moving party certify either that they made “reasonable efforts to confer … which efforts shall

  be identified with specificity in the statement.” See id.

         “Failure to comply with the requirements of this Local Rule may be cause for the Court to

  grant or deny the motion and impose on counsel an appropriate sanction, which may include an

  order to pay the amount of the reasonable expenses incurred because of the violation, including a

  reasonable attorney’s fee.” Id. Such a failure to comply with the meet and confer requirement has

  been found to be “dispositive,” especially in cases, such as this one, where the moving party made

  no efforts whatsoever to meet and confer prior to filing its motion. See, e.g. Cicuitronix, LLC v.

  Kapoor, No. 15-cv-61446 (S.D. Fla. Dec. 16, 2016); Andre v. Gonzales, et al., No. 10-20536-CV,

  2010 WL 3585238, at *2 (S.D. Fla. Sept. 7, 2010).

         Plaintiff failed to make any effort – much less a good faith effort – to meet and confer with

  the Lebanese Government Defendants or their counsel. Notably and tellingly, Plaintiff did not

  include a certification of good faith conference in the Motion, because no such efforts were made

  by Plaintiff or her counsel. As a result of Plaintiff’s complete failure to comply with the Local

  Rules of this District Court, the Motion should be denied.

  III.   APPLICABLE STANDARD

         Even if the Court were to permit the Motion to proceed despite Plaintiff’s failure to comply

  with the Local Rules, the Motion nevertheless fails under the applicable standard and burden of

  proof imposed under the Federal Rules of Civil Procedure with regard to motions under Rule 60(b).

         Motions for relief from judgment are “generally not favored” and should be granted “only

  upon a showing of exceptional circumstances.” United States v. International Broth. of Teamsters,

  247 F.3d 370, 391 (2d Cir. 2001). In general, “courts require that the evidence in support of [a

  Rule 60(b) motion] be ‘highly convincing,’ that a party show good cause for the failure to act



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  sooner, and that no undue hardship be imposed on other parties.” Kotlicky v. United States Fid. &

  Guar. Co., 817 F.2d 6, 9 (2d Cir. 1987).

         To prevail under Rule 60(b)(3), the moving party must “prove[] by clear and convincing

  evidence that an adverse party has obtained the verdict through fraud, misrepresentation, or other

  misconduct.” Cox Nuclear Pharmacy, Inc. v. CTI, Inc., 478 F. 3d 1303, 1314 (11th Cir. 2007)

  (citing Frederick v. Kirby Tankships, Inc., 205 F.3d 1277, 1287 (11th Cir. 2000)). The moving

  party must also “show that the conduct prevented the losing party from fully and fairly presenting

  his case or defense.” Frederick, 205 F.3d at 1287. Accordingly, the burden of proof is

  unquestionably on the moving party. See Assman v. Fleming, 159 F.2d 332, 336 (8th Cir. 1947).

  “[F]raud is not to be presumed, but must ordinarily be proven by clear and convincing evidence.”

  Id. See also Frederick, 205 F.3d at 1287. “Clear and convincing evidence entails proof that a claim

  is ‘highly probable,’ a standard requiring more than a preponderance of the evidence but less than

  proof beyond a reasonable doubt.” Ward v. Hall, 592 F. 3d 1144, 1177 (11th Cir. 2010) (citing

  United States v. Owens, 854 F.2d 432, 436 n. 8 (11th Cir.1998)).

         Plaintiff has also invoked Rule 60(b)(6), which allows a court to provide relief from a

  judgment for “any other reason justifying relief from the operation of the judgment.” However, it

  is well established that relief under this clause may be invoked only when relief under the other

  grounds enumerated under Rule 60(b) are not available. Griffin v. Swim-Tech Corp., 722 F. 2d

  677, 680 (11th Cir. 1984). “The party seeking relief has the burden of showing that absent such

  relief, an ‘extreme’ and ‘unexpected’ hardship will result.” Id. (citing United States v. Swift &

  Co., 286 U.S. 106, 119 (1932). Even under exceptional circumstances, the decision to grant Rule

  60(b)(6) relief is a matter for the court's sound discretion. Galbert v. W. Caribbean Airways, 715

  F.3d 1290, 1294 (11th Cir. 2013).



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   IV.    THE MOTION FALLS SHORT OF PLAINTIFF’S HEAVY BURDEN

          A.      Plaintiff Has not Provided Any Evidence in Support of the Motion

          Initially, the Motion fails because the relief sought is based entirely on unsupported

   allegations. As with her Amended Complaint, Plaintiff’s Motion alleges a supposed conspiracy

   directed against her by members of her family, purportedly with the support of an extensive

   network of current and former Lebanese government officials acting in their official capacities –

   including the current and former Justice Ministers, and several judges and prosecutors. However,

   Plaintiff notably fails to provide any evidence, whether in the form of testimony or documents, in

   support of her Motion. Additionally, of course, there is no such evidence because, as set forth in

   Section IV(C), infra, the gravamen of her request for relief rests upon the legally unsupportable

   position that her arrest and detention was improper – a position which flies in the face of applicable

   Lebanese law and procedure.

          The Motion, entirely devoid of evidence, is much like her Amended Complaint, which

   makes allegations against the Lebanese Government Defendants based largely “upon information

   and belief.”24 Indeed, the only support for the relief sought in the current Motion are circular

   citations to the allegations, upon information and belief, alleged in the Amended Complaint.

          Under Rule 60(b), fraud and misconduct may not be presumed, but rather must be proven

   by clear and convincing evidence. When considering a motion under Rule 60(b), the Eleventh

   Circuit has held that “[c]onclusory averments of the existence of fraud made on information and


   24
           Such “conclusory allegations, unwarranted deductions of facts or legal conclusions
   masquerading as facts” are widely disparaged by the Courts and, unlike other factual assertions in
   a complaint, are not taken as true at the dismissal stage. See, e.g., Bell Atlantic Corp. v. Twombly,
   550 U.S. 544, 551, 557 (2007) (declining to take as true the conclusory allegation “upon
   information and belief”); Aldana v. Del Monte Fresh Produce, NA, Inc., 416 F. 3d 1242, 1246
   (11th Cir. 2005); US ex rel. Clausen v. Laboratory Corp., 290 F. 3d 1301, 1310-11 (11th Cir. 2002)
   (pleadings involving fraud claims under Rule 9(b) “generally cannot be based on information and
   belief”).
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   belief and unaccompanied by a statement of clear and convincing probative facts which support

   such belief do not serve to raise the issue of the existence of fraud.”25 Booker v. Dugger, 825 F.2d

   281, 284-85 (11th Cir. 1987) (emphasis added).

          Plaintiff’s unsupported and conclusory allegations do not amount to evidence and certainly

   do not meet the burden of proof under Rule 60(b). As a consequence, the Motion is insufficient on

   its face and should be denied.

          B.      Plaintiff’s Motion is Not Timely

          Motions under Rule 60(b) must be made within a reasonable time. Fed. R. Civ. P.

   60(c)(1).26 The question of reasonableness must be considered on a case by case basis in light of

   “the circumstances of each case to determine ‘whether the parties have been prejudiced by the

   delay and whether a good reason has been presented for failing to take action sooner.’” BUC Intern.

   Corp. v. International Yacht Council, 517 F. 3d 1271, 1275 (11th Cir. 2008).

          Rule 60(b) does not “provide a license for litigants to sleep on their rights.” See Stansell v.

   Revolutionary Armed Forces of Colombia, 771 F. 3d 713, 737-738 (11th Cir. 2014) (citing United

   Student Aid Funds, Inc. v. Espinosa, 559 U.S. 260, 271 (2010)) (refusing to vacate a judgment

   pursuant after a delay of four months). See also Central Operating Co. v. Utility Workers of

   America, 491 F. 2d 245, 253 (4th Cir. 1974) (refusing to vacate a judgment pursuant to Rule

   60(b)(1) after a delay of less than four months and referring to the delay as “inexcusable

   dereliction”); Jones v. Phipps, 39 F. 3d 158, 165 (7th Cir. 1994) (refusing to vacate a judgment

   after a delay of five weeks).



   25
           The Court in Booker concluded that such statements were insufficient, even when included
   in a sworn statement. Plaintiff has not filed any such statement in this case, but is traveling instead
   solely on the unsupported claims in her Complaint and unverified Motion.
   26
           With regard to Rules 60(b)(1)-(3) this time period is subject an additional outside limit of
   “no more than a year after the entry of the judgment or order or date of the proceeding.”
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          In this case, Plaintiff filed the Motion on June 3, 2019, two months after filing the

   Voluntary Dismissal with Prejudice on April 5, 2019, which was followed by the Final Order of

   Dismissal on April 8, 2019. Plaintiff provides no explanation for the delay. Nor could she.

          According to news reports, Plaintiff returned to Miami on April 12, 2019. At that point,

   she certainly could have filed her Motion for Relief without fear of retaliation. Whether she was

   waiting to be sure that the defamation actions against her in Lebanon were dismissed, or hoping

   for a favorable outcome in her appeal of the case she filed in Lebanon, is unknown. What is clear

   is that either way she was gaming both this Court and the Lebanese judicial system. From the time

   of her arrival in the U.S. in April, to the filing of her motion in June, neither Plaintiff nor her

   counsel made any effort to contact the Lebanese Government Defendants or their counsel to

   engage in a good faith negotiation regarding her motion to renew this lawsuit.

          The prejudice to the Lebanese Government Defendants from Plaintiff’s shenanigans is

   unmistakable. They have been forced to engage in frivolous litigation brought by Plaintiff accusing

   them of malfeasance in the performance of their public duties in Lebanon. As a result of Plaintiff’s

   conduct and belated filing of the Motion, they have been compelled on two separate occasions to

   engage counsel in Lebanon and in the United States, as well as investing considerable personal

   time and resources to defend themselves against Plaintiff’s unsubstantiated attacks. They also, in

   good faith, and in reliance on Plaintiff’s representations, as described above, withdrew their

   Defamation Actions in Lebanon following Plaintiff’s voluntary dismissal in the United States.

          C.      Plaintiff Fails to Allege any Conduct Justifying Relief from the Judgment
                  under Rule 60(b)(3)

          Even if the Court considers that Plaintiff’s Motion is timely and meets some minimum

   evidentiary threshold, the Motion nevertheless fails because Plaintiff has not shown – and cannot

   show – that her decision to dismiss the case was the result of duress or other misconduct by any of


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   the Defendants.

          "Duress" has been defined by Florida courts as “a condition of mind produced by an

   improper external pressure or influence that practically destroys the free agency of a party and

   causes him to do an act or make a contract not of his own volition.” Crago v. Citibank, 610 So. 2d

   65, 67 (Fla. 4th DCA 1992) (citing Cooper v. Cooper, 69 So.2d 881, 883 (Fla. 1st DCA 1954);

   Herald v. Hardin, 95 Fla. 889, 116 So. 863 (1928)). More generally, “duress” is defined in Fla.

   Jur. 2d as “any wrongful act of one person that compels a manifestation of apparent assent by a

   second person to a transaction without the second person's volition, or as compulsion or restraint

   by which a person is illegally forced to do, or forbear from doing, some act.” 20 Fla.Jur.2d, Duress

   and Undue Influence, 324. "Duress involves a step beyond mere illegality and implies that a person

   has been unlawfully constrained or compelled by another to perform an act under circumstances

   which prevent the exercise of free will." See Woodruff v. TRG-Harbour House, Ltd., 967 So. 2d

   248, 250 (Fla. 3rd DCA 2007) (citing McLaughlin v. Fla., Dep't of Natural Res., 526 So.2d 934,

   936 (Fla. 1st DCA 1988)). “[I]t is not improper and therefore not duress to threaten what one has

   a legal right to do.” City of Miami v. Kory, 394 So. 2d 494, 498 (Fla. 3rd DCA 1981). The mere

   fact that Plaintiff’s choice was made in the face of “unpleasant alternatives” – claims in Lebanon

   based on her defamatory statements – does not mean that it was made under duress. Hargray v.

   City of Hallandale, 57 F. 3d 1560, 1568 (11th Cir. 1995) (in the employment context).

          Despite Plaintiff’s claims and unsupported assertions regarding her detention in Lebanon,

   she has not demonstrated that there was anything wrongful – much less illegal – about the

   Defamation Actions or her treatment in Lebanon. Plaintiff was the defendant in the Defamation

   Actions in Lebanon, where she has initiated and engaged in extensive litigation herself.27 In



   27
          See, e.g., Mekanna Declaration, Ex. A at ¶16.
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   accordance with Lebanese law, Plaintiff was arrested and detained because an Arrest Warrant was

   issued when she could not be found after criminal actions – the Defamation Actions – were filed

   against her. This is a standard procedure in Lebanon intended to give the investigating judge the

   opportunity to question the defendant. While Plaintiff, a Lebanese citizen and resident, may

   disagree with the laws of Lebanon authorizing her detention, she is not above the law, and there is

   certainly no wrongful misconduct in Lebanon applying its own internal laws to its own citizen.

           Finally, Plaintiff and her husband clearly had the opportunity and did in fact consult with

   their counsel – both in Lebanon and in the United States – in making the decision to voluntarily

   dismissal her U.S. litigation last April, which is a factor to consider and weigh in the considering

   whether there was duress. See Corporacion Peruana de Aeropuertos y Aviacion Comercial v. Boy,

   180 So. 2d 503, 506 (Fla. 2nd DCA 1965).28 Significantly, as well, Plaintiff’s counsel apparently

   made no mention to the Court at the time of the filing (which he signed) that the voluntary dismissal

   was anything other than a voluntary good faith dismissal of the action. Plaintiff’s about face and

   allegations of duress, more than two months later, should be given no credence.

           D.      Plaintiff may not Seek Relief under Rule 60(b)(6) and, in any event,
                   “Extraordinary Circumstances” do not Exist to Justify Such Relief

           Plaintiff argues that the alleged conduct gives rise to relief under the “fraud” and

   “misconduct” prongs of Rule 60(b)(3). Consequently, her arguments under Rule 60(b)(6), which

   are grounded in precisely the exact same unsubstantiated allegations as her arguments under Rule

   60(b)(3), are misplaced and relief under Rule 60(b)(6) should be denied.

           Rule 60(b)(6) is frequently referred to as a “residual” or “catchall” clause, because it

   “applies only to cases that do not fall into any of the other categories listed in parts (1)-(5) of Rule

   60(b).” US v. Real Property & Residence, 920 F. 2d 788, 791 (11th Cir. 1991) (citing Klapprott v.


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           See April 2, 2019 Correspondence, Ex. G.
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   United States, 335 U.S. 601, 614-15 (1949)); see also Rismed Oncology Systems, Inc. v. Baron,

   297 F.R.D. 637, 655 (N.D. Ala. 2014), aff'd, 638 Fed. Appx. 800 (11th Cir. 2015). Put simply,

   “clause (6) and clauses (1) through (5) are mutually exclusive.” Real Property & Residence, 920

   F. 2d at 791 (citing 7 J. Moore, Moore's Federal Practice, ¶ 60.27, at 60-266 (2d. ed. 1987);

   Klapprott, 335 U.S. at 614-15).

          In any event, Plaintiff has failed to show “exceptional circumstances” sufficient to justify

   relief from the final judgment under Rule 60(b)(6). This broad umbrella provision is not to be

   applied “liberally,” as Plaintiff claims, but only as an extraordinary remedy where, absent such

   relief, “extreme” and “unexpected” hardship will result. Apart from the complete lack of

   evidentiary support, as set forth above, Plaintiff has not shown that she will suffer “extreme” and

   “unexpected” hardship. The notion that she suffered an “unexpected” hardship as a consequence

   of the Final Order of Dismissal is belied by the fact that it was prompted by her own voluntary

   dismissal, which was tied to the related dismissal of the Defamation Actions in Lebanon.

   V.     THE COURT SHOULD EXERCISE ITS DISCRETION NOT TO GRANT THE
          RELIEF SOUGHT IN THE MOTION

          In the exercise of its discretion, the Court should place this Motion in broader context and,

   given the futility of the underlying pleading, deny the Motion.

          A.      The Court does not have Personal Jurisdiction over any of the Defendants

          The Court should deny the Motion for Relief and decline to vacate the voluntary dismissal

   because there is no basis for the Court to exercise personal jurisdiction over the Lebanese

   Government Defendants. The allegations in the Amended Complaint do not establish a prima facie

   showing of personal jurisdiction over any of the Lebanese Government Defendants. See Madara

   v. Hall, 916 F. 2d 1510, 1514 (11th Cir. 1990) (“the plaintiff must establish a prima facie case of

   personal jurisdiction over a nonresident defendant.”). To make a prima facie showing, the


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   Complaint must “present enough evidence to withstand a motion for directed verdict.” Id.

          The exercise of personal jurisdiction over any Defendant also must comport with principles

   of constitutional due process. See Williams Elec. Co. v. Honeywell, Inc., 854 F.2d 389, 392 (11th

   Cir.1988) (quoting International Shoe Co., 326 U.S. at 316, 66 S.Ct. at 158). Each Defendant must

   have “sufficient minimum contacts with the forum to justify the court’s exercise of personal

   jurisdiction,” and that the exercise of personal jurisdiction “comports with ‘traditional notions of

   fair play and substantial justice’ under the circumstances.” Daimler AG v. Bauman, 571 U.S. 117,

   126-27 (2014).

          Plaintiff acknowledges in the Amended Complaint that the Lebanese Government

   Defendants are Lebanese residents and citizens. Plaintiff does not – and cannot – plead that any of

   the Lebanese Government Defendants have homes, bank accounts, telephone numbers, or any

   other trace of presence in the United States that could subject them to the general jurisdiction of

   the Court. Moreover, the causes of action Plaintiff asserts against the Lebanese Government

   Defendants arise out of actions they allegedly took in Lebanon involving the lawsuits Plaintiff

   filed there.29 As a result, Plaintiff’s allegations fail to plead a jurisdictional basis under Florida’s

   Long-Arm Statute. See Fla. Stat. 48.193. “Florida's long-arm statute is to be strictly

   construed.” Sculptchair, Inc. v. Century Arts, Ltd., 94 F. 3d 623, 627 (11th Cir. 1996) (citing

   Oriental Imports & Exports, Inc. v. Maduro & Curiel's Bank, N.V., 701 F.2d 889, 891 (11th




   29
           Not one of the causes of action plead against the Lebanese Government Defendants states
   a claim. These include claims for fraudulent misrepresentation, fraud, forgery, conspiracy,
   conversion, and constructive trust as to each of the Lebanese Government Defendants. Rather,
   Plaintiff’s claims as to the Lebanese Government Defendants are egregious examples of the kind
   of conclusory pleadings rejected by the federal courts. See Iqbal, 556 U.S. at 672, 678-79;
   Twombly, 550 U.S. at 556. They certainly fall embarrassingly short of the standards for pleading
   fraud under Fed. R. Civ. P. 9(b) and reflect Plaintiff’s bad faith. See, e.g., Friedlander v. Nims,
   755 F. 2d 810 (11th Cir. 1985).
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   Cir.1983)). “Under Florida law, the plaintiff bears the burden of proving personal jurisdiction:

   When a defendant raises through affidavits, documents or testimony a meritorious challenge to

   personal jurisdiction, the burden shifts to the plaintiff to prove jurisdiction by affidavits, testimony

   or documents.” Sculptchair, 94 F. 3d at 627 (11th Cir. 1996) (citing Jet Charter Serv., Inc. v.

   Koeck, 907 F.2d 1110, 1112 (11th Cir.1990)) (internal quotations omitted). Florida’s Long-Arm

   Statute requires a showing that the non-resident party, for example, conduct business in Florida,

   commit a tort in Florida, enter into a contract in Florida, solicit business in Florida, or product

   products consumer in Florida. See Fla. Stat. 48.193.

          Plaintiff’s conclusory jurisdictional allegations that “money originated in the United States,

   which was stolen from banks that do business in the United States,” and “all of the Defendants

   engage in business in the United States,” without any factual basis – and without plausible facts

   demonstrating that they do business in Florida, or that they engaged in any conduct here, much

   less conduct that has a substantial nexus to Plaintiff’s claims against the Lebanese Government

   Defendants – is facially deficient and fails to state a basis for jurisdiction. See Complaint [ECF

   No. 7] at ¶1. See Lapaglia v. Transamerica Cas. Ins. Co., 155 F. Supp. 3d 153, 155 (D. Conn.

   2016) (holding that jurisdictional allegations are subject to the plausibility standard) (citing

   Ashcroft v. Iqbal, 556 U.S. 662 (2009); Bell Atl. Corp. v. Twombly, 550 U.S. 544 (2007)).

          Plaintiff, who bears the burden of proof, has failed to sufficiently plead any element of the

   Long-Arm Statute, much less sufficient minimum contacts to withstand Constitutional scrutiny.

   Even if she had done so, Defendants have responded with sworn declarations confirming that they

   have no presence or interests in Florida and that Plaintiff’s claims do not arise out of any conduct




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   by them in Florida.30 Accordingly, the Amended Complaint fails to allege facts sufficient to

   establish that any of the Lebanese Government Defendants may be subject to either general or

   specific personal jurisdiction.

          B.      The Lebanese Government Defendants have Immunity from the U.S.
                  Proceedings

          The Amended Complaint should also be dismissed because the Lebanese Government

   Defendants are immune from suit under the Foreign Sovereign Immunities Act (“FSIA”), 28

   U.S.C. §§ 1602 et seq., and the common law doctrine of foreign official immunity.

          Plaintiff’s claims arise solely from the Lebanese Government Defendants’ official duties

   as current and former judges, prosecutors, and ministers,31 including the following:

              Judge Mekanna dismissed Plaintiff’s Lebanese criminal action. Am. Comp. at ¶36.

              Judge Abou Haidar presided over a criminal claim against Plaintiff. Id. at ¶33.

              Judge Hammoud declined to provide Plaintiff and her Lebanese counsel with
               confidential investigative materials. Id. at ¶38.

              Minister Jreissati allegedly ordered that none of the defendants in Plaintiff’s Lebanese
               litigation be arrested, and later ordered prosecutors not to advance criminal matters
               Plaintiff had filed in Lebanon. Am. Comp. at ¶¶34-36.

              Mr. Antoun, who was an advisor to Minister Jreissati, allegedly communicated with


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           Mekanna Declaration, Ex. A at ¶4; Hammoud Declaration, Ex. D at ¶5; Abou Haidar
   Declaration, Ex. C at ¶4; Jreissati Declaration, Ex. B at ¶5; Antoun Declaration, Ex. E at ¶5.
   31
           Subject to disciplinary actions and complaint, the Lebanese Government Defendants are
   given absolute immunity in cases arising from their official functions under Lebanese law. See
   Mekanna Declaration, Ex. A at ¶15. As a consequence, Plaintiff is seeking to do an end-run around
   the Lebanese justice system – which she selected for her case in the first instance – by suing the
   Lebanese Government Defendants personally in the United States. She has litigated in Lebanon
   for several years and, only now, after perceived setbacks in her case has elected to adopt a strategy
   of collaterally attacking prosecutors and judges, many of whom have only been peripherally
   involved in the case. This principle of judicial immunity is widely accepted in international law,
   as reflected by its adoption in the Seventh United Nations Convention for the Prevention of Crimes
   and the Treatment of Criminals held in Milan between August 26 and September 6, 1985. See
   General Assembly of the United Nations 32/40 dated Nov. 29, and 40/146 dated Dec. 13, 1985 at
   Articles 15 and 16.
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               prosecutors and judges on the Minister’s behalf. Id. at ¶¶36-37.32

           The common law doctrine of foreign official immunity extends the immunity of a foreign

   state to “any other public minister, official, or agent of the state with respect to acts performed in

   his official capacity if the effect of exercising jurisdiction would be to enforce a rule of law against

   the state.” Smith v. Ghana Commercial Bank, Ltd., No. 10-4655, 2012 WL 2930462, at *9 (D.

   Minn. June 18, 2012) (citing Restatement (Second) of Foreign Relations Law § 66(f) (Am. Law.

   Inst. 1965)). “Allowing an American court to reach the merits of a suit against a public official for

   acts taken on behalf of the foreign state, would certainly affect the ‘power and dignity’ of that

   foreign state.” Id. The factual background of Ghana Commercial Bank is virtually identical to this

   case and entailed allegations involving decisions by the Ghanaian attorney general whether or not

   to pursue charges against individuals who were alleged to have defrauded plaintiff. Id. at *10.

           In addition to common law foreign official immunity, the Court would also be required to

   dismiss the action on the basis of the FSIA, which is the “sole basis for obtaining jurisdiction over

   a foreign state,” because despite Plaintiff’s choice to plead claims against the Lebanese

   Government Defendants individually, the actually party in interest is the Republic of Lebanon. As

   noted above, all of Plaintiff’s false allegations in the Amended Complaint against the Lebanese

   Government Defendants are directly related to their official duties. Ghana Commercial Bank, 2012

   WL 2930462 at *10 (“Plaintiff’s allegations against Ghana’s Attorney General render the Republic

   of Ghana the real party in interest here and show that Plaintiff seeks to hold the Attorney General

   liable for acts performed in his official capacity.”). See also Odhiambo v. Republic of Kenya, 930

   F.Supp.2d 17, 34 (D.D.C.2013) (dismissing claims against individual defendants where "the suit

   [was] in all respects a suit against the Kenyan government"); Mohammadi v. Islamic Republic of


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           Notably, most of the allegations against Minister Jreissati and Mr. Antoun, among others,
   are asserted “upon information and belief.”
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   Iran, 947 F. Supp. 2d 48 (D.D.C. 2013), aff’d 782 F. 3d (D.C. Cir. 2015) (dismissing claims against

   individual government officials because the claims plead were actually claims against the foreign

   state). As a result, the claims against the Lebanese Government Defendants must be dismissed and

   any such claims – in the doubtful event that any viable claims are available here – must be asserted

   against the real party in interest, the Lebanese state.

          Accordingly, both common law foreign official immunity and the FSIA compel dismissal

   of Plaintiff’s lawsuit against the Lebanese Government Defendants.

          C.         International Comity

          As a matter of international comity, even were the Court inclined to vacate the judgment

   of dismissal, which it should not, it should abstain from proceeding with this case and defer to the

   Lebanese courts, before which Plaintiff has initiated criminal proceedings arising from precisely

   the same facts.

           U.S. courts may dismiss or stay a domestic action based on the interests of our government,

   the foreign government and the international community in resolving the dispute in a foreign

   forum. See Ungaro-Benages v. Dresdner Bank AG, 379 F. 3d 1227, 1238 (11th Cir. 2004). As part

   of this analysis, federal courts evaluate several factors, including the strength of the United States'

   interest in using a foreign forum, the strength of the foreign governments' interests, and the

   adequacy of the alternative forum. Id.

          The Court should dismiss this proceeding based on the doctrine of international comity.

   Multiple parallel proceedings are currently pending arising from the precise facts alleged in this

   case. Plaintiff’s claims arise directly out of the decisions rendered by the Lebanese courts and by

   Lebanese prosecutors whether to bring a criminal action or not. The Lebanese government

   unquestionably has the greater interests in this matter because all of the allegations involve conduct



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   in Lebanon by Lebanese nationals (including Plaintiff) and residents involving a Lebanese estate

   and the Lebanese judicial system.

          As noted above, for an American court to essentially “reach the merits of a suit against a

   [foreign] public official for acts taken on behalf of the foreign state,” would certainly affect the

   ‘power and dignity’ of that foreign state.” Id. The Amended Complaint essentially seeks to

   entangle this Court in ongoing legal proceedings in Lebanon to influence their outcome. Even if

   Plaintiff could plead sufficient facts, which she has failed to do here, her claims would require this

   Court to decide on the legality of matters decided by the Lebanese courts under Lebanese law.

          As a matter of comity, this Court should decline to consider the common law fraud claims

   asserted against the Lebanese Government Officials for conduct arising from their official duties

   in connection with the ongoing proceedings in Lebanon. To do otherwise would invite foreign

   courts to second guess legal proceedings.

                                             CONCLUSION
          The Lebanese Government Defendants respectfully request that the Court deny Plaintiff’s

   Motion, and grant any such other and further relief the Court deems just and proper.




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   July 17, 2019                      Respectfully submitted,


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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 17, 2019, I electronically filed the foregoing document

   with the Clerk of Court by using the CM/ECF system. I further certify that the foregoing is being

   served this day upon all counsel of record via transmission of Notices of Electronic Filing

   generated by CM/ECF or in some other authorized manner for those counsel or parties who are

   not authorized to receive electronically Notices of Electronic Filing.


                                                  /s/ Harout J. Samra
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